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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 SECURITIES AND EXCHANGE
 COMMISSION,
                     Plaintiffs,                    CIVIL ACTION FILE
 vs.                                                NO.1:12-CV-3261-WSD
 ANGELO A. ALLECA, et al,
                     Defendants.


                                      JUDGMENT


       This action having come before the court, Honorable William S. Duffey, Jr. ,
United States District Judge, for consideration of Receiver Robert D. Terry’s Motion for
Attorney Fees, and the court having granted said motion, it is
       Ordered and adjudged that the Receiver is authorized to pay $25,752.95 to the
law firm Berger Harris.
       Dated at Atlanta, Georgia this 9th day of October, 2013.

                                                JAMES N. HATTEN
                                                CLERK OF COURT



                                           By: s/ Ashley Coleman
                                               Deputy Clerk
Prepared and entered
in the Clerk's Office
    October 9, 2013
James N. Hatten
Clerk of Court


By: s/ Ashley Coleman
       Deputy Clerk
